     Case 2:24-cv-02406-KML        Document 11     Filed 10/30/24    Page 1 of 2




 1 Ryan J. McCarthy, Bar #020571
   Brian J. Ripple, Bar #033997
 2 JONES, SKELTON & HOCHULI P.L.C.
   40 N. Central Avenue, Suite 2700
 3 Phoenix, Arizona 85004
   Telephone: (602) 263-1783
 4 Fax: (602) 200-7878
   rmccarthy@jshfirm.com
 5 bripple@jshfirm.com
 6 Attorneys for Defendant Frontier Airlines,
   Inc.
 7
 8                           UNITED STATES DISTRICT COURT

 9                                  DISTRICT OF ARIZONA

10 Richard Garcia and Jerilynn Garcia,              No. CV-24-02406-PHX-KML
   husband and wife,
11                                                  Notice of Service of Discovery
                                     Plaintiffs,
12
                 v.
13
   Frontier Airlines, Inc., a Colorado
14 corporation for profit,
15                                  Defendant.
16
17                 Notice is hereby given by undersigned counsel that Defendant Frontier

18 Airlines, Inc.’s Initial Disclosure Statement was served on counsel for Plaintiff via email
19 on October 30, 2024.
20
21                 DATED this 30th day of October, 2024.
22                                             JONES, SKELTON & HOCHULI, P.L.C.
23
24                                             By /s/ Ryan J. McCarthy
                                                  Ryan J. McCarthy
25                                                Brian J. Ripple
                                                  40 N. Central Avenue, Suite 2700
26                                                Phoenix, Arizona 85004
                                                  Attorneys for Defendant Frontier Airlines,
27                                                Inc.
28


     117698328.1
     Case 2:24-cv-02406-KML        Document 11      Filed 10/30/24     Page 2 of 2




 1                                CERTIFICATE OF SERVICE
 2                 I hereby certify that on this 30th day of October, 2024, I caused the foregoing

 3 document to be filed electronically with the Clerk of Court through the CM/ECF System
 4 for filing; and served on counsel of record via the Court’s CM/ECF system.
 5 J. Tyrell Taber
   Gallagher & Kennedy, P.A.
 6 1575 East Camelback Road, Suite 1100
   Phoenix, Arizona 85016-9225
 7 Attorneys for Plaintiff
 8 Reid J. Lampert
   rlampert@klm-law.com
 9 Katzman Lampert & Stoll
   9596 Metro Airport Avenue
10 Broomfield, Colorado 80021
11
12 /s/ Mary Creed
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                       2
     117698328.1
